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                         TWITTER, INC. and X CORP.
                    12

                    13                             UNITED STATES DISTRICT COURT
                    14
                                                NORTHERN DISTRICT OF CALIFORNIA
                    15
                                                          SAN FRANCISCO DIVISION
                    16

                    17   EITAN ADLER, on behalf of himself and all      Case No. 3:23-CV-01788-JD
                         others similarly situated,
                    18                                                  DECLARATION OF FIDELMA
                                             Plaintiff,                 CALLAGHAN IN SUPPORT OF
                    19                                                  DEFENDANTS TWITTER, INC. AND
                                      vs.                               X CORP.’S MOTION TO COMPEL
                    20                                                  INDIVIDUAL ARBITRATION AND
                         TWITTER, INC. and X CORP.,                     DISMISS CLASS AND
                    21                                                  REPRESENTATIVE PAGA CLAIMS
                                             Defendants.
                    22                                                  Date:      June 22, 2023
                                                                        Time:      10:00 a.m.
                    23                                                  Judge:     Honorable James Donato

                    24

                    25

                    26

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                    28
MORGAN, LEWIS &                                                                                DECLARATION OF
 BOCKIUS LLP                                                                               FIDELMA CALLAGHAN
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                         CASE NO. 3:23-cv-01788-JD
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                     1                           DECLARATION OF FIDELMA CALLAGHAN

                     2          I, Fidelma Callaghan, do hereby state and declare as follows:

                     3          1.      I have worked at Twitter for almost two years. Currently, I hold the title of

                     4   Director of Global People Services. I have held this position since March 2021. Prior to that, I

                     5   worked for another company in a similar capacity.

                     6          2.      As part of my job duties, I have personal knowledge of Twitter’s current processes

                     7   and practices, and its historical processes and practices dating back at least to September 2017,

                     8   for onboarding new employees, including how Twitter presents applicants for U.S. positions with

                     9   an offer letter and a Dispute Resolution Agreement, the process for applicants to review, sign, and

                    10   submit documentation relating to their prospective employment, and Twitter’s record-keeping

                    11   systems related to the applicant’s execution of the offer letter and Dispute Resolution Agreement

                    12   and submission of a request, if any, to opt out of the Agreement, all of which Twitter maintains in

                    13   the ordinary course of business. My knowledge of Twitter’s practices is based on information I

                    14   have learned in the course of my work, including through my review of Twitter documents and

                    15   my understanding of its systems. If called to testify regarding the facts set forth in this

                    16   declaration, I could and would testify competently thereto.

                    17          3.      Since at least 2015, when Twitter offers a job to an applicant for a position in the

                    18   United States, a member of Twitter’s Global People Services team prepares an offer packet in

                    19   Twitter’s internal OWL system, which is Twitter’s system for generating onboarding documents

                    20   for new employees, including an offer letter and onboarding packet. When the offer is accepted,

                    21   the new hire record—which includes the offer letter and onboarding packet—is then transferred

                    22   to a different system called Workday where an employee file is created. The offer packet includes

                    23   the applicant’s offer letter and a Dispute Resolution Agreement, among other things. Twitter

                    24   sends the applicant’s offer packet to the applicant using the email address that the applicant

                    25   provided during the application process, or the employee’s @twitter.com email address if the

                    26   offer packet was generated during the conversion from an independent contractor position to a

                    27   position as a full-time employee.

                    28   ///
MORGAN, LEWIS &                                                                                            DECLARATION OF
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                            1                          FIDELMA CALLAGHAN
  SAN FRANCISCO
                                                                                                     CASE NO. 3:23-cv-01788-JD
                           Case 3:23-cv-01788-JD Document 14-1 Filed 05/12/23 Page 3 of 17



                     1          4.      An applicant’s offer letter explains the steps the applicant needs to take to accept
                     2   the offer, which includes signing the offer letter and the other documents in the offer packet,
                     3   including the Dispute Resolution Agreement, and returning them to Twitter by a specific date on
                     4   which the offer expires.
                     5          5.      Based on my experience and job responsibilities at Twitter, I am familiar with how
                     6   applicants use the secure electronic signature system to electronically sign documents in the offer
                     7   packet. By clicking on a link in an email that the applicant receives, the internet-based Adobe
                     8   Sign program launches and prompts the applicant to sign the document, allowing the applicant the
                     9   choice of typing, drawing, or taking a picture of their signature. The Adobe Sign program then
                    10   presents the applicant with the complete offer packet in PDF format and allows the applicant to
                    11   scroll up and down to review the materials on a computer screen. The program identifies the
                    12   parts of the documents that require an applicant’s signature or initials, and it allows the applicant
                    13   to apply their electronic signature or initials by clicking on prompts that say “Click to Sign Here”
                    14   in the parts of the documents with blanks indicating that a signature or initials are required.
                    15   When the applicant has completed reviewing and signing the documents, the applicant is
                    16   prompted to click a button, and then a message pops up that says “you’re all set. You finished
                    17   signing [document title] document. We will email the agreement to all parties. You can also
                    18   download a copy of what you just signed.” The screen also provides a hyperlink to the document
                    19   for the employee to download.
                    20          6.      Based on my experience and job responsibilities at Twitter, I am familiar with how
                    21   Twitter receives and maintains executed offer packets from applicants. After the applicant
                    22   submits the executed documents through Adobe Sign, an automatic email notification is sent to
                    23   People Services and the recruiter. Also, the signed letter is automatically uploaded into Twitter’s
                    24   OWL system. The Adobe Sign system also sends a copy of the signed offer packet to the
                    25   applicant’s email address. The OWL system has a “hire sync” feature that refreshes every thirty-
                    26   minutes and identifies people who have accepted the offer and are ready to onboard. The feature
                    27   triggers automatic creation of new Workday employee profiles with the signed documents.
                    28   ///
MORGAN, LEWIS &                                                                                            DECLARATION OF
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                           2                           FIDELMA CALLAGHAN
  SAN FRANCISCO
                                                                                                     CASE NO. 3:23-cv-01788-JD
                           Case 3:23-cv-01788-JD Document 14-1 Filed 05/12/23 Page 4 of 17



                     1          7.      I have reviewed the personnel records for Plaintiff Eitan Adler, which contain a
                     2   signed offer letter and a Dispute Resolution Agreement bearing Adler’s signature and dated May
                     3   30, 2015. Attached hereto as Exhibit A is a true and correct copy of Adler’s signed offer letter
                     4   and Dispute Resolution Agreement, which are maintained in his personnel records in the ordinary
                     5   course of business. I have also reviewed the OWL entries relating to Adler’s offer packet and the
                     6   audit trail recorded to Adobe Sign when Adler completed the offer packet. Based on my review
                     7   of those materials, on May 27, 2015, Twitter sent the offer packet to Adler. Adler’s offer packet
                     8   included a Dispute Resolution Agreement. On May 30, 2015, Adler signed the documents
                     9   enclosed in the offer packet, including the Dispute Resolution Agreement, via Adobe Sign. A
                    10   PDF copy of the signed offer packet, which included a signed copy of the Dispute Resolution
                    11   Agreement, was sent to Adler’s personal email address.
                    12          8.      Based on my experience and job responsibilities at Twitter, I know that Twitter’s
                    13   policy is to allow employees to opt out of Twitters’ Dispute Resolution Agreement so long as an
                    14   employee submits a Dispute Resolution Agreement Opt-Out Form to Human Resources within 30
                    15   days of receipt of the Dispute Resolution Agreement. Dispute Resolution Agreement Opt-Out
                    16   Forms are kept in an employee’s personnel records in the ordinary course of business.
                    17          9.      Adler signed the Dispute Resolution Agreement on May 30, 2015. Adler
                    18   remained employed at Twitter for more than 30 days after receiving the Dispute Resolution
                    19   Agreement. Adler did not submit a Dispute Resolution Agreement Opt-Out Form to Human
                    20   Resources until July 6, 2015—which was approximately forty (40) days after he received his
                    21   offer packet and signed his Dispute Resolution Agreement. A true and correct copy of Adler’s
                    22   Dispute Resolution Agreement Opt-Out Form dated July 6, 2015, is attached hereto as Exhibit B.
                    23          10.     Based on my experience and job responsibilities at Twitter, I know that as a matter
                    24   of policy and practice Twitter does not accept Dispute Resolution Agreement Opt-Out Forms that
                    25   are not timely submitted within the 30-day period.
                    26          11.     On January 28, 2019, Marilyn Tom, the former head of US People
                    27   Operations/Services at the time, erroneously signed the “Confirmation by Human Resources” on
                    28   Adler’s Dispute Resolution Agreement Opt-Out Form, which stated that “the above-mentioned
MORGAN, LEWIS &                                                                                         DECLARATION OF
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                         3                          FIDELMA CALLAGHAN
  SAN FRANCISCO
                                                                                                  CASE NO. 3:23-cv-01788-JD
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                     1   employee submitted this opt-out request form within the thirty (30) day timeline as required by
                     2   Twitter’s Dispute Resolution Agreement…” Management did not instruct Tom to sign the
                     3   Confirmation by Human Resources, and she should not have done so given that Adler did not
                     4   timely submit his Dispute Resolution Opt-Out Form. Tom’s signing of the Confirmation form
                     5   was an error, not consistent with Company policy, and not authorized.
                     6          I declare under penalty of perjury under the laws of California and the United States of
                     7   America that the foregoing is true and correct. Signed on May 12, 2023, in Dublin, Ireland.
                     8

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                                                                                 FIDELMA CALLAGHAN
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MORGAN, LEWIS &                                                                                         DECLARATION OF
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                         4                          FIDELMA CALLAGHAN
  SAN FRANCISCO
                                                                                                  CASE NO. 3:23-cv-01788-JD
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          EXHIBIT A
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                       Eitan Adler
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May 27, 2015


Eltan Adler


San Francisco, CA 94103



Dear Eitan Adler,

Twitter, Inc., a Delaware corporation (the “Company”), is pleased to offer you employment
on the following terms:

1. Position. Your title will be Software Engineer II and you will report at the start of your
   employment to David Keenan, Sr. Mgr., Software Engineering. You will be a regular, full-
   time employee.

2. Start Date. Your employment will commence on 29 June 2015. You will be providing
   services from the Company’s San Francisco, CA location. (You may be required to travel
   as one part of your duties.)

3. Cash Compensation. The Company will pay you a gross starting salary at an annualized
   rate of                                                      , payable in accordance with
   the Company’s standard payroll schedule. This salary will be subject to adjustment from
   time to time in accordance with the employee compensation policies then in effect. This
   is an exempt position, and your salary is intended to cover all hours worked.

4. Employee Benefits.     As a regular employee of the Company, you will be eligible to
   participate in Company-sponsored benefits in accordance with the terms of the
   applicable benefit plans.

5. Equity Compensation. Subject to the approval of the Company’s Board of Directors, you
   will be granted                                      restricted stock units (“RSUs”) of the
   Company. The RSUs will be subject to the terms and conditions set forth in the
   Company’s 2013 equity plan.      You will vest in 25% of the RSUs on the first year
   anniversary of the first day of the month following your start date, provided you have
   been continuously employed by Twitter during that time, and the balance quarterly over
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   the next three years of continuous service, as described in the equity plan. Please note
   that the terms of the Company’s equity plans are reviewed periodically, and subject to
   revision at the Company’s sole discretion.

6. Employee Invention Assignment and Confidentiality Agreement. You will be required,
   as a condition of your employment with the Company, to sign the Company’s standard
   Employee    Invention   Assignment    and    Confidentiality   Agreement   (“Confidentiality
   Agreement”). A copy of the Confidentiality Agreement is enclosed with this letter.

7. Employment Relationship. Employment with the Company is for no specific period of
   time. Your employment with the Company will be “at will,” meaning that either you or
   the Company may terminate your employment at any time and for any reason, with or
   without cause. This is the full and complete agreement between you and the Company
   regarding the duration of the employment relationship. Although your job duties, title,
   compensation and benefits, as well as the Company’s personnel policies and procedures
   may change from time to time, the “at will” nature of your employment, may only be
   changed through an express written agreement signed by you and the Company’s Chief
   Executive Officer.

8. Outside Activities. While you render services to the Company, you will not engage in
   any other employment, consulting, or other business activity that would create a conflict
   of interest with the Company, which includes engaging in any work that is competitive in
   nature. While you render services to the Company, you also will not assist any person or
   entity in competing with the Company, in preparing to compete with the Company, or in
   hiring any employees or consultants of the Company. In addition, for a period of one
   (1) year after the termination of your services, you will not solicit either directly or
   indirectly, any employee of the Company to leave the Company for other employment
   or assist any person or entity in doing the same.

9. Background Check. This offer is contingent on successful completion of a background
   check regarding your employment experience, educational credentials, criminal history
   and the like. This offer may be withdrawn in the sole discretion of the Company based
   on its review of the background check results. Your acceptance of this offer of
   employment will be complete when you have initiated authorization to perform a
   background check, as instructed by our Human Resources Department.



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10. Verification of Employability. This offer is contingent upon your providing legal proof
   of your identity and authorization to work in the United States within three (3) days of
   the commencement of your employment.

11. Taxes. All forms of compensation that are subject to income or payroll taxes will be
   reduced to reflect applicable income tax withholding and payroll taxes.           Any form of
   compensation that is subject to income or payroll taxes and that is not paid in cash will
   result in a reduction in cash compensation to reflect applicable income tax withholding
   and payroll taxes.

12. Dispute Resolution.      We sincerely hope that no dispute will arise between us.         If a
   dispute should arise, it can be resolved through the Company’s Dispute Resolution
   Policy. A copy of the Dispute Resolution Policy is enclosed with this letter.

13. Entire Agreement. This letter agreement supersedes and replaces any prior agreements,
   representations or understandings, whether written, oral or implied, between you and
   the Company.

Please do not make any change in your present living or employment circumstances until all
of the conditions to this offer, including successful completion of the background check
and, if applicable, acquisition of a visa, have been satisfied.   Any questions regarding your
satisfaction   of    these    conditions   should    be    directed   to   Valerie     Wolf    at
valeriewolf@twitter.com.

By signing this letter agreement, you confirm to the Company that you have no
contractual commitments or other legal obligations that would prohibit you from
performing your duties for the Company.

We hope that you will accept our offer to join the Company. To indicate your acceptance
of this offer, please initiate the authorization of your background check, and sign and date
the enclosed duplicate original of this letter agreement, the enclosed Confidentiality
Agreement, and the enclosed Dispute Resolution Policy and return them to Valerie Wolf.
This offer will expire if the signed documents are not returned to me by the end of business
on May 29th, 2015.




                                                                                           Page 3
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                                              Very truly yours,
                                              Twitter, Inc.




                                              By
                                                   Richard Costolo, Chief Executive Officer




I have read, understood and accept all the provisions of this offer of employment.
Eitan Adler
Eitan Adler (May 30, 2015)




Eitan Adler


 May 30, 2015


Date




                                                                                        Page 4
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                              DISPUTE RESOLUTION AGREEMENT

This Dispute Resolution Agreement is a contract and covers important issues relating to your
rights. It is your sole responsibility to read it and understand it. You are free to seek assistance
from independent advisors of your choice outside the Company or to refrain from doing so if that
is your choice.

1. How This Agreement Applies

This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a
transaction involving commerce. This Agreement applies to any dispute arising out of or related to
Employee's employment with Twitter, Inc. or one of its affiliates, successor, subsidiaries or parent
companies ("Company") or termination of employment and survives after the employment relationship
terminates. Nothing contained in this Agreement shall be construed to prevent or excuse Employee or the
Company from utilizing the Company's existing internal procedures for resolution of complaints, and this
Agreement is not intended to be a substitute for the utilization of such procedures.

Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that
otherwise would be resolved in a court of law or before a forum other than arbitration. This Agreement
requires all such disputes to be resolved only by an arbitrator through final and binding arbitration and not
by way of court or jury trial. Such disputes include without limitation disputes arising out of or relating to
interpretation or application of this Agreement, including the enforceability, revocability or validity of the
Agreement or any portion of the Agreement.

Except as it otherwise provides, this Agreement also applies, without limitation, to disputes regarding the
employment relationship, trade secrets, unfair competition, compensation, breaks and rest periods,
termination, or harassment and claims arising under the Uniform Trade Secrets Act, Civil Rights Act of
1964, Americans With Disabilities Act, Age Discrimination in Employment Act, Family Medical Leave Act,
Fair Labor Standards Act, Employee Retirement Income Security Act (except for claims for employee
benefits under any benefit plan sponsored by the Company and covered by the Employee Retirement
Income Security Act of 1974 or funded by insurance), Genetic Information Non-Discrimination Act, and
state statutes, if any, addressing the same or similar subject matters, and all other state statutory and
common law claims.

2. Limitations On How This Agreement Applies

This Agreement does not apply to claims for workers compensation, state disability insurance and
unemployment insurance benefits.

Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded
by an administrative agency if applicable law permits access to such an agency notwithstanding the
existence of an agreement to arbitrate. Such administrative claims include without limitation claims or
charges brought before the Equal Employment Opportunity Commission (www.eeoc.gov), the U.S.
Department of Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of
Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing in this Agreement shall be
deemed to preclude or excuse a party from bringing an administrative claim before any agency in order to
fulfill the party's obligation to exhaust administrative remedies before making a claim in arbitration.

Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall
Street Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this
Agreement.
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                              DISPUTE RESOLUTION AGREEMENT

3. Selecting The Arbitrator

The Arbitrator shall be selected by mutual agreement of the Company and the Employee. Unless the
Employee and Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice
in the location where the arbitration proceeding will be conducted or a retired federal or state judicial
officer who presided in the jurisdiction where the arbitration will be conducted. If for any reason the parties
cannot agree to an Arbitrator, either party may apply to a court of competent jurisdiction with authority
over the location where the arbitration will be conducted for appointment of a neutral Arbitrator. The court
shall then appoint an arbitrator, who shall act under this Agreement with the same force and effect as if
the parties had selected the arbitrator by mutual agreement. The location of the arbitration proceeding
shall be no more than 45 miles from the place where the Employee reported to work for the Company,
unless each party to the arbitration agrees in writing otherwise.

4. Starting The Arbitration

All claims in arbitration are subject to the same statutes of limitation that would apply in court. The party
bringing the claim must demand arbitration in writing and deliver the written demand by hand or first class
mail to the other party within the applicable statute of limitations period. The demand for arbitration shall
include identification of the parties, a statement of the legal and factual basis of the claim(s), and a
specification of the remedy sought. Any demand for arbitration made to the Company shall be provided to
the attention of the Company's Legal Department, Twitter, Inc., 1355 Market Street, Suite 900, San
Francisco, CA 94103. The arbitrator shall resolve all disputes regarding the timeliness or propriety of the
demand for arbitration. A party may apply to a court of competent jurisdiction for temporary or preliminary
injunctive relief in connection with an arbitrable controversy, but only upon the ground that the award to
which that party may be entitled may be rendered ineffectual without such provisional relief.

5. How Arbitration Proceedings Are Conducted

In arbitration, the parties will have the right to conduct adequate civil discovery, bring dispositive motions,
and present witnesses and evidence as needed to present their cases and defenses, and any disputes in
this regard shall be resolved by the Arbitrator.

You and the Company agree to bring any dispute in arbitration on an individual basis only, and
not on a class, collective, or private attorney general representative action basis. Accordingly:

    (a) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
    class action ("Class Action Waiver"). The Class Action Waiver shall not be severable from
    this Agreement in any case in which (1) the dispute is filed as a class action and (2) a civil
    court of competent jurisdiction finds the Class Action Waiver is unenforceable. In such
    instances, the class action must be litigated in a civil court of competent jurisdiction.

    (b) There will be no right or authority for any dispute to be brought, heard or arbitrated as
    a collective action ("Collective Action Waiver"). The Collective Action Waiver shall not be
    severable from this Agreement in any case in which (1) the dispute is filed as a collective
    action and (2) a civil court of competent jurisdiction finds the Collective Action Waiver is
    unenforceable. In such instances, the collective action must be litigated in a civil court of
    competent jurisdiction.

    (c) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
    private attorney general representative action ("Private Attorney General Waiver"). The
    Private Attorney General Waiver shall be severable from this Agreement in any case in
    which a civil court of competent jurisdiction finds the Private Attorney General Waiver is
    unenforceable. In such instances and where the claim is brought as a private attorney
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                              DISPUTE RESOLUTION AGREEMENT

    general, such private attorney general claim must be litigated in a civil court of competent
    jurisdiction.

Although an Employee will not be retaliated against, disciplined or threatened with discipline as a result of
his or her exercising his or her rights under Section 7 of the National Labor Relations Act by the filing of or
participation in a class, collective or representative action in any forum, the Company may lawfully seek
enforcement of this Agreement and the Class Action Waiver, Collective Action Waiver and Private
Attorney General Waiver under the Federal Arbitration Act and seek dismissal of such class, collective or
representative actions or claims. Notwithstanding any other clause contained in this Agreement, any
claim that all or part of the Class Action Waiver, Collective Action Waiver or Private Attorney General
Waiver is invalid, unenforceable, unconscionable, void or voidable may be determined only by a court of
competent jurisdiction and not by an arbitrator.

The Class Action Waiver, Collective Action Waiver and Private Attorney General Waiver shall be
severable in any case in which the dispute is filed as an individual action and severance is necessary to
ensure that the individual action proceeds in arbitration.

6. Paying For The Arbitration

Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
may later be entitled under applicable law. However, in all cases where required by law, the Company will
pay the Arbitrator's and arbitration fees. If under applicable law the Company is not required to pay all of
the Arbitrator's and/or arbitration fees, such fee(s) will be apportioned between the parties in accordance
with said applicable law, and any disputes in that regard will be resolved by the Arbitrator.

7. The Arbitration Hearing And Award

The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding the
conduct of the hearing and resolve any disputes the parties may have in that regard. Within 30 days of
the close of the arbitration hearing, any party will have the right to prepare, serve on the other party and
file with the Arbitrator a brief. The Arbitrator may award any party any remedy to which that party is
entitled under applicable law, but such remedies shall be limited to those that would be available to a
party in his or her individual capacity in a court of law for the claims presented to and decided by the
Arbitrator, and no remedies that otherwise would be available to an individual in a court of law will be
forfeited by virtue of this Agreement. The Arbitrator will issue a decision or award in writing, stating the
essential findings of fact and conclusions of law. Except as may be permitted or required by law, as
determined by the Arbitrator, neither a party nor an Arbitrator may disclose the existence, content, or
results of any arbitration hereunder without the prior written consent of all parties. A court of competent
jurisdiction shall have the authority to enter a judgment upon the award made pursuant to the arbitration.

8. An Employee's Right To Opt Out Of Arbitration

Arbitration is not a mandatory condition of Employee’s employment at the Company, and
therefore an Employee may submit a form stating that the Employee wishes to opt out and not be
subject to this Agreement. The Employee must submit a signed and dated statement on a "Dispute
Resolution Agreement Opt Out Form" ("Form") that can be obtained from the Company's Human
Resources Department at hr@twitter.com. In order to be effective, the signed and dated Form must be
returned to the Human Resources Department within 30 days of the Employee's receipt of this
Agreement. An Employee who timely opts out as provided in this paragraph will not be subject to any
adverse employment action as a consequence of that decision and may pursue available legal remedies
without regard to this Agreement. Should an Employee not opt out of this Agreement within 30 days of the
Employee's receipt of this Agreement, continuing the Employee's employment constitutes mutual
acceptance of the terms of this Agreement by Employee and the Company. An Employee has the right to
consult with counsel of the Employee's choice concerning this Agreement.
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                             DISPUTE RESOLUTION AGREEMENT

9. Non-Retaliation

It is against Company policy for any Employee to be subject to retaliation if he or she exercises his or her
right to assert claims under this Agreement. If any Employee believes that he or she has been retaliated
against by anyone at the Company, the Employee should immediately report this to the Human
Resources Department.

10. Enforcement Of This Agreement

This Agreement is the full and complete agreement relating to the formal resolution of employment-
related disputes. Except as stated in paragraph 5, above, in the event any portion of this Agreement is
deemed unenforceable, the remainder of this Agreement will be enforceable. If the Class Action Waiver,
Collective Action Waiver or Private Attorney General Waiver is deemed to be unenforceable, the
Company and Employee agree that this Agreement is otherwise silent as to any party's ability to bring a
class, collective or representative action in arbitration.


AGREED:

TWITTER, INC.




AGREED:
                                  Eitan Adler
EMPLOYEE NAME PRINTED            ______________________________________


                                 Eitan Adler
EMPLOYEE SIGNATURE               ______________________________________
                                 Eitan Adler (May 30, 2015)




                                  05/29/2015
Date:                            ______________________________________




	  
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           EXHIBIT B
    Case 3:23-cv-01788-JD Document 14-1 Filed 05/12/23 Page 17 of 17




                         DISPUTE RESOLUTION AGREEMENT
                                  OPT-OUT FORM




EMPLOYEE CONFIRMATION OF OPT-OUT:

This form confirms that the employee signing below has chosen to opt out of the Twitter Dispute
Resoluton Agreement within thirty (30) day period as required by that Agreement.

I confirm my wish to opt-out of the Twitter Dispute Resolution Agreement:




Signature                                                Date



                                                                j
Employee Printed Name                                    Employee Number




CONFIRMATION BY HUMAN RESOURCES:
I confirm that the above-mentioned employee submitted this opt-out request form within the thirty
(30) day timeline as required by Twitter's Dispute Resolution Agreement, and that I returned a
copy of this opt-out form to the employee above:




    Marilyn Tom                                                     01/28/19
Signature                                                Date

   Marilyn Tom
Printed Name
